                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF WISCONSIN
                                 MILWAUKEE DIVISION

RONNIE MARTIN,                                )
                                              )
                Plaintiff,                    )
                                              )       Civil Action Case No. 16-1702
v.                                            )
                                              )
DOMINIQUE HEAGGAN-BROWN,                      )
Individually, and in his Capacity as          )
as Police Officer for the City of             )
Milwaukee;                                    )
                                              )
PETER R. HAUSER, Individually, and in         )
his Capacity as Deputy Police Officer for     )
the City of Milwaukee;                        )               COMPLAINT
                                              )
CITY OF MILWAUKEE,                            )
                                              )
ABC INSURANCE COMPANY                         )
                                              )
            Defendants.                       )
___________________________________

       NOW COMES the Plaintiff, Ronnie Martin, by and through his attorneys, Nistler Law

Office, s.c., by Brent D. Nistler and Shauna D. Manion, and for his Complaint alleges and states

as follows:

                                PRELIMINARY STATEMENT

       1.       This is a Civil Rights action under 42 U.S.C. § 1893, as well as an action for

violations of state laws arising under the same series of transactions, as a result of Defendants’

use of excessive force and other wrongful acts occurring in the City of Milwaukee on April 15,

2016 and thereafter.

       2.       The individual Defendants are named individual and official capacities.




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       3.       The Defendant City of Milwaukee is named as a result of the individual

Defendants’ actions within the course and scope of their authority, and pursuant to Wis. Stat.

§895.46.

       4.      On April 15, 2016, Plaintiff Ronnie Martin was injured by Milwaukee Police

Officers Dominique Heaggan-Brown and Peter R. Hauser at or around 4302 West Capitol Drive,

Milwaukee Wisconsin. Said officers used excessive, unreasonable and unjustified force on

Defendant including but not limited to unnecessarily “tasing” Defendant and unreasonably strip

searching Defendant. This lawsuit seeks redress under federal and state law for the damages

caused by the Defendants’ acting in concert and under color of law, acting willfully, maliciously,

with a deliberate indifference and/or with a reckless disregard for the natural and probable cause

of their acts, without lawful justification or reason. Such actions were designed to and did cause

specific and serious physical and emotional pain and suffering in violation of Plaintiff’s rights as

guaranteed under 42 U.S.C. § 1983, and the Fourth and Fourteenth Amendments to the United

States Constitution, including the right to be free from an unreasonable seizure of his person and

the right to be free from the use of excessive unreasonable and unjustified force.

                                   JURISDICTION & VENUE

       5.      Plaintiff brings this action under 42 U.S.C. § 1983 for the depravation of civil

rights secured by the Fourth and Fourteenth Amendments to the United States Constitution, the

State of Wisconsin Constitution, and other claims which arise out of state laws.

       6.      This Court has jurisdiction under 28 U.S.C. § 1331, § 1343(a)(3)(4), and §

1367(a).

       7.      Venue is proper in the Eastern District of Wisconsin pursuant to 28 U.S.C. §1391

because the events giving rise to this cause of action all occurred within this District.


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       8.      This case presents an actual case in controversy arising under the Fourth and

Fourteenth Amendments to the Constitution of the United States. This case also arises under the

provisions of 42 U.S.C. §§ 1983 and 1988.

                                               PARTIES

       9.      Plaintiff Ronnie Martin is a citizen and resident of the United States, domiciled in

Milwaukee County, State of Wisconsin.

       10.     At all times relevant, upon information and belief Defendant Dominique

Heaggan-Brown was a resident of Milwaukee County, State of Wisconsin, and was acting in his

capacity as a Police Officer for the City of Milwaukee and was acting under the color of state

law. He is named in both his individual and official capacities.

       11.     At all times relevant, upon information and belief Defendant Peter R. Hauser was

a resident of Milwaukee County, State of Wisconsin, and was acting in his capacity as a Police

Officer for the City of Milwaukee and was acting under the color of state law. He is named in

both his individual and official capacities.

       12.     For all pertinent dates and times, the Defendants Heaggan-Brown and Hauser

were employed as a police officers for the City of Milwaukee, a municipal corporation and

governmental subdivision of the State of Wisconsin, and acted under color of law and authority

of the statutes, ordinances, regulations, customs and usages of the City of Milwaukee, and State

of Wisconsin, and acted within the scope of their employment and under the authority of his

position as police officers for the City of Milwaukee.

       13.     The City of Milwaukee is a defendant to this action as an indemnitor to Officers

Heaggan-Brown and Hauser, and pursuant to Wis. Stat. §895.46.




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       14.     ABC Insurance Company, an unknown insurance company at this time, is a

defendant to this action as an indemnitor and insurer to Officers Dominique Heaggan-Brown and

Peter R. Hauser and/or the City of Milwaukee.

                                  FACTUAL BACKGROUND

       15.     On or about April 15, 2016, Plaintiff was a passenger in a black Volkswagen

Passat vehicle. The vehicle stopped at a gas station located at or around 4302 West Capitol

Drive, Milwaukee Wisconsin, around 5:25pm.

       16.     While the driver went inside the gas station, two Milwaukee Police Department

(“MPD”) Officers, later identified as Dominique Heaggan-Brown and Peter R. Hauser, pulled up

on either side of the vehicle on bicycles.

       17.     Plaintiff believed the officers wished that he move the vehicle, so he began to

slide from the passenger’s seat to the driver’s seat. Plaintiff used his hands to slide over the

console to the driver’s seat, keeping them in plain view.

       18.     As Plaintiff began to slide to the driver’s side, Officer Hauser opened the car

door, grabbed Plaintiff in an aggressive manner, pulled him out of the car and threw him onto the

ground outside.

       19.     Officer Hauser threw him to the ground so hard, Plaintiff briefly blacked out.

       20.     Plaintiff did not move from the ground or attempt to fight Defendant Officers,

but while Plaintiff was laying on the ground disabled and stunned, Officer Heaggan-Brown and

Officer Hauser tased him.

       21.     In violation of Milwaukee Police Department policies, Officers did not turn on

their body cameras as they initiated contact with Plaintiff. Officer Heaggan-Brown only turned

on his body camera after he had already tased Plaintiff.



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          22.     Despite the fact that Plaintiff used his hands to slide to the driver’s seat, Officer

Heaggan-Brown also claimed to have seen Plaintiff put drugs down his pants. This contradicts

Officer Hauser’s recollection, who did not report seeing Plaintiff’s hands near his pants.

          23.     Officers took Plaintiff into custody and brought him to St. Joseph Hospital and to

the Milwaukee Police station to strip search him.

          24.     The search was performed in the presence of supervising Officer Novak. Plaintiff

was not asked, but was directed to remove all of his clothing and spread his buttocks for Officers

to view.

          25.     No drugs were discovered on Plaintiff.

          26.     Upon information and belief, Plaintiff did not move his hands near his pants prior

to arrest and Officers lacked probable cause for the strip search.

          27.     The Milwaukee District Attorney reviewed this case, and declined to charge

Plaintiff with any wrongdoing.

                                               COUNT 1

                VIOLATION OF FOURTH AND FOURTEENTH AMENDMENTS

          28.     Plaintiff hereby realleges and reasserts the above paragraphs as if fully set forth

herein.

          29.     In committing the acts complained herein, Defendants acted jointly and under

color of state law to deprive Plaintiff of his clearly established constitutionally protected rights

under the Fourth and Fourteenth Amendments of the Constitution of the United States, including

but not limited to freedom from unreasonable seizure; the right to be free from unreasonable

searches; freedom from the use of unreasonable, unjustified and excessive force; freedom from

deprivation of liberty and property without due process of law; freedom from summary



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punishment; freedom from the prevention of officers from using excessive force; and freedom

from arbitrary governmental activity which shocks the conscience of a civilized society.

          30.     In violating Plaintiff’s rights as set forth above and other rights that will be proven

at trial, Defendants acted under color of state law and conducted an unreasonable seizure of

Plaintiff and utilized unnecessary, unjustified, unreasonable and excessive force.

          31.     The Officer Defendants’ actions were not objectively reasonable under the

circumstances based on the perspective of a reasonable officer at the scene.

          32.     Further, the acts or conduct committed by the Officer Defendants against Plaintiff

occurred in the presence of each other and the Officer Defendants further violated Plaintiff’s

constitutional rights by failing to intervene and prevent the violation of Plaintiff’s constitutional

rights by fellow officers.

          33.     Both Officer Defendants knowingly and deliberately conspired to deprive

Plaintiff of his civil rights.

          34.     As a direct and proximate result of the violation of his constitutional rights by the

Defendants, Plaintiff suffered damages as alleged in this Complaint and his August 10, 2016

Notice of Claim, Notice of Injury, and Itemized Statement of Relief, which is incorporated in full

and attached hereto as Exhibit A, and Plaintiff is entitled to such relief under 42 U.S.C. § 1983.

                                               COUNT 2

                CRUEL AND UNUSUAL PUNISHMENT – EIGHT AMENDMENT

          35.     Plaintiff hereby realleges and reasserts above paragraphs as if fully set forth

herein.

          36.     Pursuant to the Eight Amendment of the United States Constitution, Plaintiff was

entitled to be free from cruel and unusual punishment.



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          37.     The Officer Defendants engaged in extreme and excessive cruelty to Plaintiff, and

as described above, constituted cruel and unusual punishment.

          38.     The actions of the Officer Defendants constituted unnecessary and wanton

infliction of pain and suffering and were extreme and excessive cruelty.

          39.     The Officer Defendants acted maliciously by undertaking, without just cause or

reason, a course of action intended to cause extreme pain and suffering.

          40.     As a direct and proximate result of the violation of his constitutional rights by the

Defendants, Plaintiff suffered damages as alleged in this Complaint and his August 10, 2016

Notice of Claim, Notice of Injury, and Itemized Statement of Relief, which is incorporated in full

and attached hereto as Exhibit A, and Plaintiff is entitled to such relief under 42 U.S.C. § 1983.

          41.     Plaintiff seeks the award of his costs of litigation and reasonable attorney’s fees

for the pursuit of this claim.

                                               COUNT 3

           STATE LAW CLAIM FOR FALSE IMPRISONMENT / FALSE ARREST

          42.     Plaintiff hereby realleges and reasserts the above paragraphs as if fully set forth

herein.

          43.     The Officer Defendants acted with the intent to confine and arrest the Plaintiff.

          44.     The Officer Defendants acted with ill-will, bad motive, and/or malice.

          45.     The Officer Defendants knew there was a lack of legal authority to arrest the

Plaintiff.

          46.     The Officer Defendants’ intentional actions resulted in the Plaintiff’s liberty being

restrained or restricted against his free will.




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          47.     The Plaintiff suffered direct, proximate, and/or consequential injuries as a result

of the Officer Defendants’ actions and/or inactions.

                                               COUNT 5

                                      STATE LAW TORT CLAIM

          48.     Plaintiff hereby realleges and reasserts the above paragraphs as if fully set forth

herein.

          49.     The Officer Defendants acted willfully and wantonly when they knew or should

have known in light of the surrounding circumstances that their conduct would naturally and

probably result in emotional distress and bodily harm to Plaintiff, and continuing such conduct

with reckless disregard of the consequences.

          50.     The Officer Defendants’ conduct was so outrageous in character and so extreme

in degree as to go beyond all bounds of decency and should be regarded as atrocious and utterly

intolerable in a civilized society.

          51.     As a direct and proximate result of the outrageous conduct by the Defendants,

Plaintiff has been harmed in an amount to be determined at trial.

                                               COUNT 6

                                  STATE LAW BATTERY CLAIM

          52.     Plaintiff hereby realleges and reasserts the above paragraphs as if fully set forth

herein.

          53.     The Officer Defendants acted with the intent to cause harmful or offensive

conduct to Plaintiff and acted with the intent to create apprehension of some harmful of offensive

contact with him.

          54.     Harmful or offensive contact with Plaintiff resulted.



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          55.      As a result of the Officer Defendants outrageous conduct Plaintiff as ben harmed

in an amount to be determined at trial.

                                               COUNT 8

                                         PUNITIVE DAMAGES

          56.      Plaintiff hereby realleges and reasserts the above paragraphs as if fully set forth

herein.

          57.      That the above-described actions and/or inactions by Officer Defendants constitute

an intentional disregard for the rights of the Plaintiff as granted by the United States Constitution,

thereby entitling him to punitive damages.

                                         PRAYER FOR RELIEF

          Plaintiff demands the following relief:

                a. Damages in the amount to be determined at trial, but not less than $100.00;

                b. Punitive damages in an amount to be determined at trial;

                c. Reasonable costs and attorney’s fees;

                d. A jury to try this case;

                e. Any other relief the Court deems just and proper.

Dated this 23rd day of December, 2016.

                                                           /s/
                                                           Brent Nistler (SBN 1033990)
                                                           Shauna Manion (SBN 1091704)
                                                           Attorneys for Plaintiff
                                                           Nistler Law Office, s.c.
                                                           7000 W. North Ave.
                                                           Wauwatosa, WI 53213
                                                           ph 414.763.1147
                                                           fax 414.988.9572
                                                           bnistler@nistlerlaw.com
                                                           smanion@nistlerlaw.com



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